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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   C.M.E. O/B/O W.P.B.,

 9                               Plaintiff,                 CASE NO. 2:19-cv-02019-RAJ-BAT

10           v.                                             ORDER REGARDING NOTING
                                                            DATES AND CONSIDERATION OF
11   SHORELINE SCHOOL DISTRICT,                             MOTIONS

12                               Defendant.

13          This case is an appeal of an administrative decision overriding Plaintiff/Parent’s refusal
14   to consent to an initial evaluation of Student for special education services under the Individuals
15   with Disabilities Education Act (IDEA), 20 U.S.C. § 1400. On May 20, 2020, the Court entered
16   a briefing schedule providing for the filing of briefs following the filing of the administrative
17   record by the OSPI. Dkt. 18. The sealed administrative record was filed on July 30, 2020. Dkt.
18   34. On September 14, 2020, the District filed its responsive brief and, consistent with the
19   briefing schedule, noted it for the Court’s consideration on October 9, 2020. Dkt. 39. Plaintiff’s
20   reply to the District’s responsive brief is due no later than October 5, 2020, which is the Monday
21   before the noting date of October 9, 2020.
22          After the filing of the administrative record, but before the District filed its responsive
23   brief, Plaintiff filed a motion for summary judgment, which was noted by Plaintiff for September


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 1   11, 2020 (but changed to September 18, 2020 by the Clerk in accordance with the rules

 2   governing the filing of summary judgment motions). Dkt. 38. This is the second motion for

 3   summary judgment filed by Plaintiff contrary to the Court’s scheduling order; the first motion

 4   was denied as premature, without prejudice. Dkt. 37. The District incorporated its responsive

 5   brief as its brief in opposition to Plaintiff’s second motion for summary judgment. Dkt. 40. On

 6   September 17, 2020, Plaintiff filed a reply. Dkt. 41. Thus, the briefing on Plaintiff’s motion is

 7   complete.

 8          Because Plaintiff’s motion for summary judgment seeks a reversal of the ALJ’s order in

 9   the administrative proceedings below, the motion addresses the same ultimate issues as set forth

10   in Defendant’s responsive brief. The Court will not engage in piece-meal and duplicative

11   adjudication of the issues in this case but will consider all briefing filed by the parties at the same

12   time. Accordingly, it is ORDERED:

13          1)      The Clerk is directed to re-note Plaintiff’s motion for summary judgment (Dkt.

14   38) for consideration on October 9, 2020. This motion is fully briefed.

15          2)      Plaintiff’s reply to the District’s response (Dkt. 39) is due by October 5, 2020.

16          DATED this 19th day of September, 2020.

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                                                            BRIAN A. TSUCHIDA
19                                                          Chief United States Magistrate Judge

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     ORDER REGARDING NOTING DATES AND
     CONSIDERATION OF MOTIONS - 2
